              Case 23-10051-JKS             Doc 931-1       Filed 11/15/24       Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

GIGAMONSTER NETWORKS, LLC, et al.,1                        Case No. 23-10051 (JKS)

         Debtors.                                           (Jointly Administered)

                                                            Obj. Deadline: Dec. 6, 2024 at 4:00 p.m. (ET)
                                                            Hearing Date: Dec. 16, 2024 at 1:00 p.m. (ET)

       NOTICE OF COMBINED MONTHLY AND FINAL FEE APPLICATION OF
       KROLL RESTRUCTURING ADMINISTRATION LLC, ADMINISTRATIVE
        ADVISOR TO THE DEBTORS, FOR COMPENSATION FOR SERVICES
       AND REIMBURSEMENT OF EXPENSES FOR (I) THE MONTHLY PERIOD
      FROM SEPTEMBER 1, 2024 THROUGH SEPTEMBER 16, 2024, AND (II) THE
      FINAL PERIOD FROM JANUARY 16, 2023 THROUGH SEPTEMBER 16, 2024

TO:      (I) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
         DELAWARE; (II) THE DEBTORS AND THEIR COUNSEL; AND (III) ALL OTHER
         PARTIES REQUIRED TO RECEIVE NOTICE PURSUANT TO THE INTERIM
         COMPENSATION ORDER.

        PLEASE TAKE NOTICE that, in accordance with the Order Establishing Procedures
for Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 122] (the
“Interim Compensation Order”), Kroll Restructuring Administration LLC filed the attached
Combined Monthly and Final Fee Application of Kroll Restructuring Administration LLC,
Administrative Advisor to the Debtors, for Compensation for Services and Reimbursement of
Expenses for (i) the Monthly Period from September 1, 2024 through September 16, 2024, and (ii)
the Final Period from January 16, 2023 through September 16, 2024 (the “Final Application”)
with the United States Bankruptcy Court for the District of Delaware.

       PLEASE TAKE FURTHER NOTICE that pursuant to the Application, Kroll
Restructuring Administration LLC seeks final allowance and approval of fees in the aggregate
amount $43,630.60 and reimbursement of expenses in the amount of $274.00.

        PLEASE TAKE FURTHER NOTICE that objections to the Application, if any, must be
filed on or before December 6, 2024 at 4:00 p.m. (ET) (the “Objection Deadline”) with the
United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,
Wilmington, DE 19801.



1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014);
    Fibersphere Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The
    Debtors’ business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
            Case 23-10051-JKS      Doc 931-1    Filed 11/15/24    Page 2 of 2




        PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy
of any objection so as to be received by (i) the Notice Parties (as defined in the Interim
Compensation Order) and (ii) Kroll Restructuring Administration LLC, 1 World Trade Center,
31st Floor, New York, New York 10007, Attn: Adam M. Adler & Gabriel Brunswick.

      PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE
APPLICATION WILL BE HELD ON DECEMBER 16, 2024 AT 1:00 P.M. (ET) BEFORE THE
HONORABLE J. KATE STICKLES, UNITED STATES BANKRUPTCY COURT FOR THE
DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 3RD FLOOR, COURTROOM
6, WILMINGTON, DELAWARE 19801.

Dated: November 15, 2024
       New York, New York

                                    KROLL RESTRUCTURING ADMINISTRATION LLC

                                         By:    /s/ Adam M. Adler
                                                Adam M. Adler
                                                Gabriel Brunswick
                                                Kroll Restructuring Administration LLC
                                                1 World Trade Center, 31st Floor
                                                New York, NY 10007
                                                Phone: (212) 257-5450
                                                adam.adler@kroll.com
                                                gabriel.brunswick@kroll.com

                                                Administrative Advisor to the Debtors




                                            2
